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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CONSUMER FINANCIAL                              :
PROTECTION BUREAU,                              :
                                                :
                      Plaintiff                 :
                                                :
                                                :   3:17-CV-101
               v.                               :   (Judge Mariani)
                                                :
                                                :
NAVIENT CORPORATION, et al.,                    :
                                                :
                      Defendants.               :

                              SPECIAL MASTER ORDER #31

       Now, this 20th day of May, 2019, IT IS HEREBY ORDERED THAT the agenda for

the telephonic status conference scheduled for May 21, 2019 at 11:00 a.m. shall include,

but not be limited to, the following matters:

       1. The status of responses to Defendants’ letters to the federal and state agencies
          implicated in the assertion of the Bank Examination Privilege.

       2. The status of the production of call records.

       3. An update on the production of drafts of the Runcie Memorandum with comments
          from the U.S. Department of Education unredacted, particularly comments for
          which the Department of Education may claim attorney-client privilege, as
          discussed during the May 14, 2019 conference call.

       4. The EmailXtender issue.

       5. The matters raised in paragraph 3 of the Order accompanying the May 17, 2019
          Special Master Report #9 (Doc. 299).
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6. The telephonic conference call scheduled for 11:00 a.m. on May 21, 2019 shall
   be placed to 570-207-5717.

                                         s/ Thomas I. Vanaskie
                                         THOMAS I. VANASKIE
                                         SPECIAL MASTER
